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 6   and Sling TV L.L.C.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                     DECLARATION OF GWENDOLYN
13                                                    ARGUELLO
14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Gwendolyn Arguello, of Aurora, Colorado declare as follow:
19           1.      I make this declaration based on personal knowledge and, if called upon to testify,
20   would testify competently as stated herein.
21           2.      I am the founder and chief investigator at Lynx Investigations LLC (“Lynx”). Lynx
22   was established in November 2018 and has been providing investigative services since its inception.
23   Prior to that time, and since 2015, I was employed as an intelligence analyst and claims investigator,
24   which included working for NagraStar LLC where I acquired substantial experience investigating
25   matters involving pay-television piracy.
26           3.      Lynx was tasked by NagraStar LLC to purchase the internet streaming television
27   service referred to as Sharma IPTV (the “Service”) from Defendant Vaneet Sharma. I reviewed the
28   report that corresponds with this purchase of the Service in preparing this declaration and relevant

                                        Declaration of Gwendolyn Arguello
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